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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
UNITED STATES OF AMERICA
                                                                 20 MJ 12903
                 -against-
                                                                 ORDER
KEVIN GRANT,

                                   Defendant.
-------------------------------------------------------------X

THE HONORABLE ANDREW E. KRAUSE, U.S.M.J.

        On December 28, 2020, the undersigned conducted a bail/detention hearing in this

matter, and defendant Kevin Grant (“Defendant”) was ordered to be released subject to certain

conditions specified on the record during the hearing. See also ECF No. 9. In addition to the

information contained in the “Advice of Penalties and Sanctions” section of the order setting the

conditions of the Defendant’s release from custody, the Court hereby provides the following

instructions, warnings, and admonitions to the Defendant:

        (1)      During the period of the Defendant’s release, the Defendant will be subject to the

supervision of the Pretrial Services Office. The Defendant must understand that when the

Pretrial Services Officer tells him to do something, he is required to do it. The Pretrial Services

Officer is acting as an arm of the Court, and if the Pretrial Services Officer tells the Defendant to

do something, that instruction should be treated the same way as if a judge in the federal

courthouse directed him to do it. Accordingly, if the Pretrial Services Officer tells the Defendant

to come to his or her office at a particular time on a particular day, the Defendant must do that.

If the Pretrial Services Officer tells the Defendant to call at a particular time on a particular day,

he must do that. If the Defendant fails to follow the Pretrial Services Officer’s instructions, the

Defendant will be violating his bail conditions. If the Defendant thinks that the Pretrial Services
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Officer is asking him to do something inappropriate, the Defendant cannot simply refuse to

follow the instructions. In that situation, the Defendant should contact his attorney, who will

then contact the Court; the Court will then decide whether or not what the Pretrial Services

Officer has told the Defendant to do is appropriate.

       (2)      The Defendant must also understand that if he commits an offense while on

release for the charge in the above-captioned matter, he will face an additional sentence for

having committed an offense while on release. That sentence would be in addition to what the

Defendant is facing on the charge in this matter, and in addition to what he would be facing for

the offense he committed while on release. If the Defendant commits a felony while on release

for this charge, he may be subject to an additional prison term of up to 10 years; if he commits a

misdemeanor while on release, the Defendant may be subject to an additional prison term of up

to one year. This additional term of imprisonment would be served after any other sentence of

imprisonment is completed.

       (3)      If the Defendant fails to appear in court as required, or if he violates any of the

conditions of his release: (i) a warrant will be issued for the Defendant’s arrest, (ii) the

Defendant and anyone who signed the bond will each be responsible for paying its full amount,

that is $100,000; and (iii) the Defendant may be charged with the separate crime of bail jumping,

which can mean additional prison time and/or a fine.

       (4)      The Defendant is also warned that while he is awaiting trial, he must not have any

contact with, or engage in any intimidation of, potential or designated witnesses or jurors, must

not engage in any intimidation of any court officer, and must not engage in any conduct that

would obstruct any investigation by law enforcement.




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       Counsel for the Defendant must review the contents of this order with the Defendant. To

confirm that counsel has reviewed the order with the Defendant, on or before Monday, January

4, 2021, counsel must submit a letter to the Court via ECF and via e-mail to

KrauseNYSDChambers@nysd.uscourts.gov, stating that the Defendant has been advised of and

understands the additional instructions, warnings, and admonitions contained in this order. The

letter must be signed both by counsel and by the Defendant.



Dated: December 30, 2020
       White Plains, New York                SO ORDERED.


                                             _____________________________________
                                             ANDREW E. KRAUSE
                                             United States Magistrate Judge




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